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13                         UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA
14
                                WESTERN DIVISION
15
16    In re Mattel, Inc. Securities Litigation   Case No. 2:19-cv-10860-MCS (PLAx)
17                                               JOINT STIPULATION
                                                 REGARDING PLAINTIFFS’
18                                               MOTION TO COMPEL
                                                 DISCOVERY FROM
19                                               PRICEWATERHOUSECOOPERS
                                                 LLP
20
                                                 Date: August 11, 2021
21                                               Time: 10:00 a.m.
                                                 Ctrm: 780, 7th Floor
22
                                                 Discovery Cutoff: December 3, 2021
23                                               Pretrial Conf.: Not Set
                                                 Trial Date: Not Set
24
                                                 The Honorable Paul L. Abrams
25
                                                 DISCOVERY MATTER
26
27                                               REDACTED VERSION OF DOCUMENT
                                                 PROPOSED TO BE FILED UNDER SEAL
28

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 1         In accordance with L.R. 37-2, Lead Plaintiffs DeKalb County Employees
 2 Retirement Plan and New Orleans Employees’ Retirement System (collectively,
 3 “Plaintiffs”), together with Defendant PricewaterhouseCoopers LLP (“PwC”), submit
 4 this Joint Stipulation setting forth the parties’ respective positions regarding Plaintiffs’
 5 motion to compel. The parties exchanged correspondence and met-and-conferred but
 6 were unable to resolve the matter. In accordance with Local Rule 37-2.1, a copy of
 7 the initial case management order is attached as Exhibit 1 to the accompanying
 8 declaration of John Rizio-Hamilton (the “Rizio-Hamilton Declaration”).
 9    I.   PLAINTIFFS’ INTRODUCTORY STATEMENT
10         This motion concerns Defendant PwC’s refusal to search for and produce
11 (i) responsive documents dated between May 2017 and July 31, 2017, which is the
12 three-month period leading up to the Class Period; and (ii) responsive emails and
13 quarterly workpapers dated between March 2, 2018 and August 2019, which is during
14 the heart of the Class Period and when 60% of the misstatements at issue were made.
15 This motion also concerns PwC’s refusal to provide information about its oral
16 presentations to the U.S. Department of Justice (“DOJ”) and the SEC concerning the
17 fraud at issue in response to Plaintiffs’ Interrogatory No. 4.
18         The Class Period in this Action begins on August 2, 2017, when PwC’s client,
19 Mattel, filed its report with the SEC for the second quarter of 2017 (the “Q2 2017
20 10-Q”) and runs until August 8, 2019, when Mattel disclosed that it had been made
21 aware of a whistleblower letter concerning the fraud at issue in this case. In the Q2
22 2017 10-Q and Mattel’s subsequent SEC filings, Defendants asserted—falsely—that
23 Mattel had effective internal controls over financial reporting. In reality, as detailed
24 in the Complaint and confirmed by former Mattel executives, Mattel’s internal
25 controls suffered from severe deficiencies. See Rizio-Hamilton Decl. Ex. 4. These
26 deficiencies contributed to material misstatements in Mattel’s financial statements
27 contained in its SEC filings during the Class Period. Significantly, Mattel and PwC
28 knew of the misstated financial results but, rather than disclose the known errors, they
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 1 conspired to conceal them from investors. This deception succeeded until early
 2 August 2019, when a whistleblower
 3
 4
 5                                                        See Rizio-Hamilton Decl. Ex. 5.
 6 Following an investigation by its Audit Committee, Mattel issued a formal restatement
 7 in which it conceded that its financial results were materially misstated and admitted
 8 to control deficiencies. Mattel separated from its CFO and PwC removed its lead audit
 9 partner for Mattel, Defendant Joshua Abrahams.           The DOJ initiated a criminal
10 investigation into the misconduct at issue, and the SEC initiated a civil investigation.
11         In this Action, Plaintiffs must (i) prove that each of the challenged SEC filings
12 were false when issued and made with scienter; and (ii) overcome Defendants’
13 affirmative defenses, including Mattel’s stated defense that it should not be liable
14 because it justifiably relied upon “PricewaterhouseCoopers staff and partners,
15 including Joshua Abrahams, Chip Lightfoot, and John Brierley” (Mattel Defendants’
16 “Reliance Defense”). See Rizio-Hamilton Decl. Ex. 6 at 2. Thus, Plaintiffs requested
17 the documents subject to this motion.
18         Pre-Class Period Documents.         PwC’s refusal to search for responsive
19 documents preceding the Class Period deprives Plaintiffs of critical evidence and is at
20 odds with established precedent in this District. As one example, evidence concerning
21 PwC’s analysis of Mattel’s internal controls’ effectiveness in the quarter covered by
22 the Q2 2017 10-Q necessarily exists in the time shortly before the Class Period began.
23 This evidence is relevant to the falsity of Mattel’s statements on August 2, 2017 (i.e.,
24 the first day of the Class Period) about effective internal controls and its knowledge
25 thereof. Indeed, what could be more relevant to those issues than documents showing
26 that Mattel’s own auditor identified deficiencies and weaknesses in Mattel’s internal
27 controls during the months leading up to the Class Period? Reasons such as these are
28 why courts in this District have repeatedly found that “facts predating the class period
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 1 are relevant to establish that statements made during the class period were materially
 2 false” and that “‘common sense’ dictates that facts relevant to scienter ‘will ordinarily
 3 date from before any alleged misrepresentations’ because the ‘circumstances
 4 preceding the statements ... would be among those knowable at the time of the
 5 statements.’” In re Toyota Motor Corp. Sec. Litig., 2012 WL 3791716, at *4 (C.D.
 6 Cal. Mar.     12, 2012) (citing cases).     Thus, PwC should search for responsive
 7 documents from, at minimum, the three months preceding the Class Period.
 8         Class Period Documents. PwC also refuses to search for responsive documents
 9 dated during much of the Class Period itself. Specifically, PwC refuses to search for
10 and produce (i) emails dated between March 2, 2018 and August 2019, which
11 constitutes 70% of the Class Period; and (ii) PwC’s workpapers for Mattel’s quarterly
12 financial statements for 2018 and the first and second quarters of 2019. PwC’s
13 position ignores, among other things, that over half of the misstatements in this Action
14 were made during this period. PwC was Mattel’s auditor throughout this period,
15 reviewed each of these filings, and issued false audit opinions during this period.
16         For the same reasons documents immediately preceding the Class Period are
17 relevant to prove Defendants knowingly made false statements at the start of the Class
18 Period, documents from during the Class Period are relevant to prove Defendants
19 knowingly made false statements during the Class Period. They are also relevant to
20 the whistleblower’s accusations and identity. PwC claims it lacks knowledge of the
21 whistleblower’s identity. There is little wonder why: PwC has refused to search its
22 employees’ emails from the months predating the August 2, 2019 letter.
23         Oral Presentations to the Government. PwC’s counsel has admitted that PwC
24 made oral presentations to the SEC and DOJ in connection with their investigations of
25 Defendants’ violations of the securities laws. Yet PwC refuses to identify the
26 information that it provided during those oral presentations. Such information is
27 relevant to determining what, if any, admissions PwC made to the Government and to
28 test whether PwC waived privilege. Indeed, to the extent that PwC provided any
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 1 “privileged” information to the SEC or the DOJ, it waived privilege over such
 2 information. See Luna v. Marvell Tech. Grp., Ltd., 2017 WL 4286325, at *1 (N.D.
 3 Cal. Sept. 22, 2017) (“Marvell waived any work-product or attorney-client privilege
 4 over those documents by presenting its findings to the SEC”). Indeed, PwC’s counsel
 5 has been ordered to produce otherwise privileged witness interview memoranda that
 6 it summarized to the SEC during oral presentations. See In re Banc of Ca. Sec. Litig.,
 7 2018 WL 2373860, at *1 (C.D. Cal. May 23, 2018). Plaintiffs are entitled to a
 8 response to Interrogatory No. 4 to determine whether a similar waiver occurred here.
 9    II.    DEFENDANT’S INTRODUCTORY STATEMENT
10           PwC has already agreed to a broad scope of discovery that fulfills Plaintiffs’
11 need to gather relevant information. The additional requests Plaintiffs now press are
12 cumulative, unduly burdensome, and seek irrelevant materials. The Court should deny
13 relief.
14           Plaintiffs’ Document Requests. PwC has produced over 300,000 pages of
15 documents in response to Plaintiffs’ 51 requests for production, including audit work
16 papers, electronic discovery from 23 custodians, copies of productions to the
17 government, and other documents.            PwC has also consistently maintained its
18 willingness to produce additional documents upon a reasonable proposal from
19 Plaintiffs, and, in an effort to resolve Plaintiffs’ specific concerns, recently produced
20 additional electronic communications from August 1, 2019 through November 22,
21 2019. But Plaintiffs’ broad request—that PwC undertake a search of electronic
22 documents from two dozen custodians for an additional 20 months—has no
23 meaningful limitation and is not proportional to the needs of the case.
24           Plaintiffs’ claim against PwC is limited to two allegedly fraudulent statements,
25 the first of which did not occur until more than six months after the alleged class period
26 began: (1) PwC’s year-end audit opinion for Mattel’s 2017 year-end disclosures, dated
27 February 28, 2018, and (2) PwC’s year-end audit opinion for Mattel’s 2018 year-end
28 disclosures, dated February 22, 2019. PwC has already conducted a reasonable search
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 1 for and produced documents related to those events and beyond, including the most
 2 pertinent source of information related to PwC’s audit, which are the audit
 3 workpapers.
 4         Given that Plaintiffs do not allege any PwC misstatement or related misconduct
 5 until well into the class period, Plaintiffs’ request for documents for the three months
 6 prior to the class period is patently overbroad. Plaintiffs’ motion acknowledges this
 7 request is not aimed at obtaining discovery related to any alleged PwC misstatement—
 8 the first of which did not occur until February 2018—but rather may be relevant to
 9 Mattel’s August 2, 2017 disclosure. Plaintiffs ignore that PwC did not audit that
10 disclosure, which contained no PwC statements alleged to be fraudulent, and, in any
11 event, predated by months any of the underlying misconduct alleged in the Complaint.
12         Plaintiffs’ request for an additional collection and search of documents for the
13 seventeen-month period from March 2018 through August 2019 is likewise overbroad.
14 This period post-dates the alleged fraud and Plaintiffs have not pointed to anything
15 other than conjecture to suggest that other PwC documents from his period are relevant.
16 Plaintiffs argue, for example, that they are seeking to learn the identity of the
17 whistleblower, but PwC has already informed Plaintiffs it does not know the
18 whistleblower’s identity.
19         Finally, although PwC has already complied with its discovery obligations, in
20 further demonstration of PwC’s ongoing willingness to resolve this dispute, PwC is
21 willing to produce workpapers for its quarterly reviews of Mattel’s financials for the
22 second quarter of 2017, 2018, and the first and second quarters of 2019. This more
23 than fulfills any obligation to provide discovery covering this time period.
24         Oral Presentations to the Government. In response to Interrogatory No. 4, and
25 in the parties’ ensuing correspondence and conferences, PwC (i) propounded
26 objections to the overbreadth, ambiguity, and redundancy of the interrogatory; (ii)
27 identified all documents it produced to government regulators in connection with
28 investigations pertaining to the matters at issue in this case; (iii) confirmed that it
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 1 produced to Plaintiffs all documents produced to regulators in connection with such
 2 investigations; (iv) confirmed its intention to produce to Plaintiffs any such documents
 3 it produces to government regulators in the future; and (v) confirmed that it has not
 4 provided any government regulators with any written materials in connection with any
 5 oral presentations for such investigations. This response is fully compliant with PwC’s
 6 obligations under Rule 33. Yet, Plaintiffs now press for PwC to respond to an
 7 interrogatory recounting the oral communications of PwC outside counsel with the
 8 government. There is no basis for such a demand.
 9         Plaintiffs offer arguments concerning privilege, but PwC has never claimed
10 privilege over its oral communications with the government and is not objecting to the
11 interrogatory on that basis. The authority Plaintiffs cite is therefore inapposite. Unlike
12 those cases, Plaintiffs here request PwC provide Plaintiffs’ counsel with a readout of
13 every single oral communication PwC or its counsel has ever had with government
14 entities about certain regulatory inquiries that are separate and apart from this private
15 civil litigation. The Federal Rules do not entitle Plaintiffs to transform PwC’s in-house
16 and outside counsel into fact witnesses, and Plaintiffs cite no authority whatsoever
17 saying otherwise.
18         Plaintiffs also request—for the first time through this motion—PwC’s “internal
19 analyses and memoranda summarizing interviews of current and former PwC and
20 Mattel witnesses about the fraud at issue.” This request does not fall under the scope
21 of Interrogatory No. 4, which seeks information “produced or provided to” the
22 government, nor have Plaintiffs identified this request in any correspondence or
23 conference. To the extent such information exists at all, such core investigative work
24 product was not shared with the government (or any third party).
25 III.    DISCOVERY IN DISPUTE
26         The discovery dispute at issue concerns the search period to be applied by PwC
27 in locating documents responsive to Plaintiffs’ First Requests for the Production of
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 1 Documents. A copy of Plaintiffs’ document requests and PwC’s responses thereto are
 2 included as Exhibits 2 and 3 to the accompanying Rizio-Hamilton Declaration.
 3         The discovery dispute at issue also concerns PwC’s response to Interrogatory
 4 No. 4, which is reprinted below:
 5         PLAINTIFFS’ INTERROGATORY NO. 4: Identify all Documents
           and information, whether conveyed orally or in writing, that You
 6
           produced or provided to a Governmental body in connection with a
 7         Governmental Investigation or in response to a Governmental Subpoena.
 8
           PWC’S RESPONSE TO INTERROGATORY NO. 4: PwC objects to
 9         this Interrogatory as vague and ambiguous to the extent that it uses the
           undefined phrase “conveyed orally or in writing,” and to the extent that
10
           identifying “Documents” that were “conveyed orally” is unintelligible.
11         PwC further objects to this Interrogatory as overbroad, unduly
12         burdensome, and as seeking information that is neither relevant to the
           subject matter of this lawsuit nor reasonably calculated to lead to the
13         discovery of evidence that is relevant to the claim or defense of any party,
14         insofar as it seeks, without limitation, “all Documents and information”
           that PwC “produced or provided” to, without limitation, any
15         Governmental body in connection with any Governmental Investigation
16         or in responses to any Governmental Subpoena. PwC accordingly
           construes this Interrogatory as seeking the identification of only such
17         documents produced to the Government in connection with matters
18         related to the allegations in the Complaint. PwC further objects to this
           Interrogatory because it seeks information that is duplicative of other
19         discovery taken by Plaintiff and may be better ascertained through other
20         discovery mechanisms, including from PwC’s document productions
           produced to Plaintiffs on April 14, 2021 in response to Plaintiffs’ First
21         Set of Requests for Production.
22                Subject to and without waiving the foregoing objections, PwC
           responds as follows: pursuant to Federal Rule of Civil Procedure 33(d),
23         PwC directs Plaintiffs to its productions of documents transmitted to
24         Plaintiffs      on      April      14,      2021       (Bates      stamped
           PWC_00271_SEC_00000001 through PWC_00271_SEC_00303721).
25
     IV.   PLAINTIFFS’ ARGUMENT
26
           Plaintiffs seek an order compelling PwC to search and produce (i) responsive
27
     documents dated between May 2017 and July 31, 2017, which is the three-month
28
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 1 period leading up to the Class Period; and (ii) responsive emails and quarterly
 2 workpapers for the period between March 2, 2018 and August 2019, which comprises
 3 70% of the Class Period and when 60% of the misstatements at issue were made.
 4 Additionally, Plaintiffs seek a response to Interrogatory No. 4 that describes what
 5 information PwC provided to the SEC and DOJ during its oral presentations to them,
 6 including whether PwC provided the SEC or DOJ information that it is now
 7 withholding in this Action as “privileged.” As detailed further below, Plaintiffs are
 8 entitled to the information and documents requested by this motion.
 9         1.    The Appropriate Search Period Starts
                 Three Months Before the Class Period
10
11         Courts in this District and elsewhere have long recognized that, in securities
12 class actions, it is “beyond dispute that discovery is not limited to the class period.”
13 Toyota, 2012 WL 3791716, at *4 (collecting cases). The reason why document
14 discovery is necessary in securities class actions from the period of time before the
15 Class Period is clear. “[F]acts predating the class period are relevant to establish that
16 statements made during the class period were materially false,” and “‘common sense’
17 dictates that facts relevant to scienter ‘will ordinarily date from before any alleged
18 misrepresentations’ because the ‘circumstances preceding the statements ... would be
19 among those knowable at the time of the statements.’” Id. (quoting Zelman v. JDS
20 Uniphase Corp., 376 F. Supp. 2d 956, 971 (N.D. Cal. 2005)).
21         For these reasons, courts have repeatedly required defendants in securities class
22 actions to search for and produce responsive documents dated before the start of the
23 class period. See Karinski v. Stamps.com, Inc., 2020 WL 5084093, at *2 (C.D. Cal.
24 July 21, 2020) (ordering defendant to start its search period eleven months before the
25 start of the class period); Toyota, 2012 WL 3791716, at *4 (ordering defendant to start
26 its search period more than four years before the beginning of the class period); In re
27 New Century, 2009 WL 9568860, at *2 (C.D. Cal. July 8, 2009) (ordering auditor to
28 start its search period eleven months before the start of the class period); In re BofI
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 1 Holding, Inc. Sec. Litig., 2021 WL 1812822, at *6 (S.D. Cal. May 6, 2021) (ordering
 2 defendant to start its search period five months before the start of the class period); In
 3 re SupportSoft, Inc. Sec. Litig., 2006 WL 2403577, at *1 (N.D. Cal. Aug. 18, 2006)
 4 (ordering defendants to start their search period three years before start of class period);
 5 In re Seagate Tech. II Sec. Litig., 1993 WL 293008, at *1 (N.D. Cal. June 10, 1993)
 6 (ordering defendants to start their search period five months before the start of the class
 7 period).
 8         PwC is a named Defendant in this action, and not merely a third party. Plaintiffs
 9 seek an order compelling PwC to search for responsive documents from the three-
10 month period immediately before the start of the Class Period—i.e., a far shorter
11 period than what other courts have required of defendants. Plaintiffs’ proposal is also
12 a far shorter period than what Plaintiffs originally sought in its document requests, and
13 reflects the compromise that Plaintiffs proposed to PwC’s counsel during the meet-
14 and-confer process. Plaintiffs require responsive documents from the three-month
15 period prior to the Class Period for two primary purposes: (i) to demonstrate the falsity
16 of Mattel’s “effective control” statements in the Q2 2017 10-Q, which was issued on
17 the first day of the Class Period; and (ii) to rebut the Mattel Defendants’ Reliance
18 Defense, through which Mattel attempts to shift the blame for Defendants’
19 misstatements to PwC alone.
20         During the meet-and-confer process, PwC suggested that it need not search for
21 relevant documents dated before the Class Period because (i) Mattel—not PwC—
22 technically published the Q2 2017 10-Q at the start of the Class Period; and (ii) PwC
23 “only” published two false audit opinions during the Class Period, the first of which
24 was issued on February 28, 2018. This argument is sorely misplaced. Regardless of
25 which Defendant uttered the first public misstatements during the Class Period, both
26 Mattel and its auditor, PwC, have documents in their files bearing on the veracity of
27 all the Class Period misstatements, including those in the Q2 2017 10-Q.
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 1
 2
 3           See Rizio-Hamilton Decl. Ex. 7 at 062. Plaintiffs are entitled to discovery
 4 about
 5        as well as all other documents that support Plaintiffs’ claims that Mattel and PwC
 6 knew that Mattel lacked effective controls.
 7         PwC’s documents leading up to the Class Period are also critical to address the
 8 Mattel Defendants’ purported Reliance Defense. As noted, the Mattel Defendants’
 9 primary defense in this Action is that, when making the statements at issue, they
10 justifiably relied upon “PricewaterhouseCoopers staff and partners, including Joshua
11 Abrahams, Chip Lightfoot, and John Brierley.” See Rizio-Hamilton Decl. Ex. 6 at 2.
12 To support this defense, Mattel invariably will point to the fact that PwC reviewed
13 Mattel’s quarterly and annual filings with the SEC. To demonstrate why Mattel’s
14 purported “reliance” on PwC was unjustified, Plaintiffs need access to PwC’s files
15 from the period prior to the Class Period to examine the work PwC performed and the
16 conclusions it reached.     Such documents can show that PwC identified control
17 deficiencies that required disclosure or, at a minimum, failed to conduct a reasonable
18 review of Mattel’s internal controls justifying Defendants’ purported reliance. In
19 short, Plaintiffs are entitled to test Mattel Defendants’ Reliance Defense, and PwC’s
20 documents are a necessary and important component to doing so.
21         2.    The Appropriate Search Period
                 Includes March 2018 Through August 2019
22
23         PwC also impermissibly attempts to excise from discovery most of the Class
24 Period itself, specifically documents dated between March 2, 2018 and August 2019.
25 This portion of the Class Period (i) spans 70% of the duration of the Class Period; and
26 (ii) includes 6 of the 10 challenged SEC filings at issue in this case. Significantly, it
27 also includes the months leading up to the whistleblower’s letter to PwC, which
28 triggered Mattel’s internal investigation, restatement, and precipitous stock drop at the
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 1 end of the Class Period. For this portion of the Class Period, PwC has refused to
 2 search for any responsive emails and has not produced PwC’s workpapers for Mattel’s
 3 quarterly SEC filings for all of 2018 and the first and second quarters of 2019.
 4         The documents that Plaintiffs seek from the period between March 2018 and
 5 August 2019 are critical to, among other things, proving that the internal control
 6 weakness that Mattel has now admitted existed in the third and fourth quarters of 2017
 7 persisted during the remainder of the Class Period. As such, these documents are
 8 directly relevant to Plaintiffs’ claims that all of Mattel’s Class Period SEC filings
 9 contained material misstatements.        If permitted to exclude such Class Period
10 documents from its review and production, PwC and Mattel will then be able to argue
11 to the jury that Plaintiffs have not introduced documentary evidence that the
12 deficiencies in Mattel’s internal controls that existed at the start of the Class Period
13 persisted throughout the Class Period. PwC and Mattel will instead be able to keep
14 well-hidden from the jury the documentary evidence that will invariably show, as
15 alleged in Plaintiffs’ complaint sustained by Judge Scarsi (see Rizio-Hamilton Decl.
16 Ex. 8), that Mattel’s control weakness continued unabated throughout the Class
17 Period.
18         Additionally, such documents are also relevant to the issue of what discussions
19 Defendants had concerning the known misstatements of Mattel’s financial results
20 during this time period—evidence that goes directly to falsity and scienter. Further,
21 by refusing to review its documents dated between March 2, 2018 and August 2019,
22 PwC creates a real risk that the whistleblower’s identity will remain a mystery forever.
23 The period PwC refuses to search includes the months before the whistleblower
24 submitted their letter to PwC. By omitting this period from its search, PwC increases
25 the likelihood that Plaintiffs will never be able to identify the whistleblower—a critical
26 witness in this Action. This is particularly true because
27
28                                                                                    See Rizio-
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 1 Hamilton Decl. Ex. 5.
 2         PwC’s refusal to produce responsive emails from within the Class Period is also
 3 contrary to the law in this District and elsewhere. As the Honorable Steve Kim
 4 explained in rejecting a similar attempt in a recent securities class action, “Defendants’
 5 arguments for their timeframe limitations—including a carve out for the middle of the
 6 class period—are unpersuasive.” Stamps.com, Inc., 2020 WL 5084093, at *2. Indeed,
 7 it is axiomatic that documents within the Class Period are relevant in discovery, and
 8 courts consistently require defendants to produce responsive documents during the
 9 Class Period, and even well beyond. See, e.g., Toyota, 2012 WL 3791716, at *4-8
10 (ordering defendants to use a search period that includes the entire class period, as
11 well as the period before and after the class period); New Century, 2009 WL 9568860,
12 at *2 (same); BofI Holding, 2021 WL 1812822, at *6 (same); SupportSoft, 2006 WL
13 2403577, at *1 (same); Seagate Tech. II, 1993 WL 293008, at *1 (same).
14         3.    PwC Must Provide in Response to Interrogatory No. 4
                 Information About Its Oral Presentations to the Government
15
16         PwC also improperly refuses to disclose to Plaintiffs what information it
17 provided to the SEC and DOJ during its oral presentations. PwC’s counsel has
18 admitted that PwC has made presentations to the DOJ and SEC in connection with
19 their ongoing investigations. During the meet-and-confer process, Plaintiffs’ counsel
20 has explained to counsel for PwC that Interrogatory No. 4 is intended to determine
21 (i) whether PwC made any oral admissions to the Government that are contrary to the
22 positions taken by it in this Action; and (ii) whether PwC disclosed to the Government
23 information that it is now improperly withholding from Plaintiffs in this Action on the
24 grounds of “privilege.” Plaintiffs proposed that, in responding to Interrogatory No. 4,
25 PwC may limit its response to PwC’s substantive communications with the Regulators
26 during oral presentations and should identify any information it is now withholding in
27 this action as “privileged” that it orally conveyed to the Government.
28         PwC’s factual representations and admissions to the SEC and DOJ regarding
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 1 the events underlying Plaintiffs’ claims are plainly relevant to this Action. They
 2 constitute, among other things, party admissions, and there is no burden in PwC’s
 3 describing them to Plaintiffs in response to Interrogatory No. 4. Indeed, PwC has
 4 tacitly admitted the relevance of the SEC’s investigation to this Action by pointing
 5 Plaintiffs to PwC’s SEC production to purportedly satisfy its obligation to respond to
 6 Interrogatory No. 4.
 7         Information about PwC’s oral presentations to the DOJ and the SEC are also
 8 important for a separate reason: to test PwC’s broad assertions of privilege in this
 9 matter. During discovery, PwC has withheld, among other things, its internal analyses
10 and memoranda summarizing interviews of current and former PwC and Mattel
11 witnesses about the fraud at issue.
12         To the extent that “privileged” information was conveyed to the Government—
13 such as the “privileged” information in the memoranda that PwC or Mattel prepared
14 summarizing witness interviews—Plaintiffs are entitled to it. Judge McCormick of
15 this District specifically compelled PwC’s counsel to produce witness interview
16 memoranda it summarized during oral presentations to the SEC in another securities
17 class action. See Banc of Cal., 2018 WL 2373860, at *1. Judge McCormick held that
18 this “disclosure of summaries of the witness interviews [to the SEC] acted to waive
19 any work product or attorney-client privilege over any notes or memoranda
20 memorializing those interviews.” Id. Likewise, Judge Alsup of the Northern District
21 of California held that when a defendant “present[ed] its findings to the SEC,” that
22 also “waived any work-product or attorney-client privilege over those documents.”
23 Marvell Tech., 2017 WL 4286325, at *1. For this reason, Judge Alsup ordered the
24 defendants to produce “interview memorandum and [forensic accountant] work papers
25 that were created in connection with [the defendant company’s] audit committee’s
26 investigation and [the defendant’s] presentation to the SEC regarding [its review of
27 the company’s accounting practices].” Id. In response to Interrogatory No. 4,
28 Plaintiffs are entitled to know whether PwC or its counsel made similar presentations
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 1 of witness interviews or any other “privileged” information to the Government and
 2 thus waived any purported privilege it is asserting in this Action.
 3                                       *     *      *
 4         For these reasons, Plaintiffs respectfully request an order compelling Defendant
 5 PwC (i) to produce responsive documents dated between May 2017 and July 31, 2017,
 6 which is the three-month period leading up to the Class Period; (ii) to produce
 7 responsive Class Period emails and quarterly workpapers from between March 2, 2018
 8 and August 2019 and specifically PwC’s workpapers for Mattel’s quarterly SEC
 9 filings for all of 2018 and the first and second quarters of 2019; and (iii) identify the
10 admissions it made and information it provided during its oral presentations to the
11 SEC and DOJ, including specifically any information it is now withholding in this
12 action as “privileged.”
13    V.   DEFENDANT’S ARGUMENT
14         PwC at all times has engaged in the “cooperative, transparent, and pragmatic
15 approach” to discovery promoted by Rule 34. Infanzon v. Allstate Ins. Co., 335 F.R.D.
16 305, 311 (C.D. Cal. 2020). PwC has produced over 300,000 pages of relevant
17 documents, appropriately responded and objected to Plaintiffs’ overbroad discovery
18 requests, and met and conferred in good faith to attempt to provide Plaintiffs with
19 additional materials that were proportional to the needs of this case. Plaintiffs’ motion
20 ignores these facts and seeks materials that are entirely disproportionate to Plaintiffs’
21 needs and would impose undue burden on PwC. See Grober v. Mako Prods., Inc.,
22 2016 WL 7429139, at *1 (C.D. Cal. Aug. 9, 2016) (“Plaintiffs’ desire to see every
23 single document that might in any possible way be related to this litigation, without
24 regard to the scope of discovery. But, as the new Federal Civil Rules emphasize,
25 discovery is based on proportionality and relevancy, not scorched earth.”), aff’d, 745
26 F. App’x 159 (Fed. Cir. 2018).
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28
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 1            1. PwC Conducted A Reasonable Search For Documents Responsive to
 2               Plaintiffs’ Requests for Production
 3         On April 14, 2021, PwC produced over 300,000 pages of documents responsive
 4 to Plaintiffs’ document requests. PwC also provided Plaintiffs with detailed search
 5 parameters used to populate that production. PwC’s production included PwC’s
 6 workpapers for fiscal periods relevant to PwC’s alleged fraud and disclosure thereof,
 7 i.e., PwC’s year-end audits of Mattel’s financial statements for 2017 and 2018, PwC’s
 8 review of Mattel’s Q3 2017 financial disclosure, and PwC’s work relating to Mattel’s
 9 Q3 2019 disclosures, including the restatement.         This is critical: as the formal
10 documentation of the bases and support for PwC’s conclusions, the workpapers are
11 the best source of information on PwC’s audits and reviews of Mattel’s financial
12 statements. PwC’s initial production also included substantial electronically stored
13 documents from 23 PwC custodians, including communications between and among
14 PwC’s engagement team, its national office, and Mattel. The production further
15 included other materials such as the whistleblower letter, documents regarding PwC’s
16 investigation of tax accounting and independence issues, policies and procedures,
17 documents related to Mattel’s engagement of PwC, as well as personnel files.
18         During the meet and confer process, PwC repeatedly offered to discuss
19 collecting and reviewing additional documents if, after reviewing PwC’s substantial
20 production, Plaintiffs identified specific gaps in PwC’s production. As part of the
21 ensuing negotiations, PwC agreed to produce ESI from relevant custodians dated
22 between August 1, 2019 and November 22, 2019, which captured documents from the
23 period between the receipt of the whistleblower letter and Mattel’s restatement.
24         Plaintiffs never provided a reasonable proposal to PwC for the collection and
25 search of additional documents from the May through July 2017, or March 2018
26 through August 2019 time periods.         Instead, Plaintiffs maintained that these
27 documents were categorically relevant and simply insisted PwC must collect, review,
28 and produce them, without limitation as to custodians or time period.
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 1               a. Plaintiffs’ Request For Additional Documents Created Between
 2                  May and July 31, 2017 Is Unjustified and Disproportionate
 3         While the alleged class period is not dispositive of relevancy for discovery
 4 purposes, relevancy is always determined on a case-by-case basis based on the facts
 5 at issue. See, e.g., Toyota, 2012 WL 3791716, at *2 (denying in part plaintiffs’ motion
 6 to compel documents for the entire time period sought).1                Plaintiffs’ motion
 7 acknowledges that the documents Plaintiffs seek from the May through July 2017 time
 8 period are not relevant to Plaintiffs’ claims against PwC. Instead, Plaintiffs contend
 9 that they require documents from this time period to demonstrate the falsity of
10 Mattel’s Q2 2017 Form 10-Q, which Mattel issued on the first day of the class period.
11 But any documents related to Mattel’s quarterly statement, which PwC neither audited
12 nor authored, are duplicative and cumulative of documents obtainable from Mattel.2
13         To the extent Plaintiffs’ claims against Mattel entitle them to seek from PwC
14 materials related to its findings on Mattel’s control weaknesses, PwC already provided
15 such documents to Plaintiffs. Specifically, PwC has already produced (1) its work
16 papers from its audit of Mattel’s internal controls statements from fiscal years 2017
17 and 2018, which formally document PwC’s work to review Mattel’s internal controls
18 for those years and support for its conclusions, as well as (2) electronic
19 communications related to events underlying the purported misstatements in PwC’s
20
21    1
     Plaintiffs’ other cited authority acknowledges the same. See, e.g., Stamps.com, Inc.,
22 2020 WL 5084093, at *1 (agreeing with defendants that “indiscriminately requesting
   all communications” might be disproportionate); In re BofI Holding, Inc. Sec. Litig.,
23 2021 WL 1812822, at *5-6 (acknowledging that “discovery must be determined on a
24 case-by-case basis” and that “discovery into time periods further removed from the
   subject matter of the alleged misstatements would be increasingly less relevant”).
   2
25 As Plaintiffs are aware, there is a critical difference between a review and an audit.
   See PCAOB Auditing Standards 4105.07 (noting that the “objective of a review of
26 interim financial information differs significantly from that of an audit … [it] does not
   contemplate (a) tests of accounting records through inspection, observation, or
27 confirmation; (b) tests of controls to evaluate their effectiveness; (c) obtaining
28 corroborating evidence in response to inquiries; or (d) performing certain other
   procedures ordinarily performed in an audit”).
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 1 opinions following those audits, which PwC specifically searched for references to
 2 deficiencies and material weaknesses.
 3
 4
 5                                                                                   See Rizio-
 6 Hamilton Decl. Ex. 7 at 062 (emphasis added). Plaintiffs supply no reason to believe
 7 that a burdensome search of PwC’s pre-class period for documents related to Mattel’s
 8 unaudited quarterly statements would yield additional documents relevant to
 9 Plaintiffs’ claims.
10          Plaintiffs’ contention that PwC should be required to search and produce pre-
11 class period documents to rebut Mattel’s reliance defense also does not withstand
12 scrutiny. Pre-class period documents—which by definition predate Mattel’s Q3
13 valuation error and later decisions to correct that error—plainly are not relevant to any
14 defense that Mattel relied on PwC in making statements or decisions related to that
15 error.    Moreover, documents related to any PwC statements on which Mattel
16 purportedly relied are readily and more appropriately obtainable from Mattel.
17          Given the limited relevance of the pre-August 2017 time period to Plaintiffs’
18 claims against PwC (or Mattel’s reliance defense), PwC’s extensive production of
19 documents related to its audits of Mattel internal controls, and the availability of
20 documents from Mattel, Plaintiffs’ request for pre-class period documents is
21 overbroad and unduly burdensome. In further demonstration of PwC’s ongoing
22 willingness to resolve this dispute, however, PwC is willing to produce its workpapers
23 for its quarterly reviews of Mattel’s financials for the second quarter of 2017.
24                b. Plaintiffs’ Request For Additional Documents Created Between
25                   March 2018 and August 2019 Is Unjustified and Disproportionate
26          With respect to documents from March 2018 to August 2019, Plaintiffs’ motion
27 likewise fails to justify imposing on PwC the substantial burden of collecting,
28 searching and reviewing electronic communications across a seventeen-month time
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 1 period—the entirety of which post-dates the alleged fraudulent conduct underlying
 2 Plaintiffs’ claims against PwC.
 3         Plaintiffs’ claim against PwC is based on two year-end audit opinions regarding
 4 Mattel’s internal control over financial reporting for 2017 and 2018. Plaintiffs’
 5 allegations that PwC issued material misstatements for both of PwC’s audit opinions
 6 are entirely based on events that took place between the fall of 2017 and February
 7 2018. Plaintiffs allege that PwC’s opinions on Mattel’s internal control over financial
 8 reporting were false or misleading because Mattel had incorrectly classified a deferred
 9 tax asset related to its valuation allowance calculation in Q3 2017 and identified the
10 error in January 2018. Plaintiffs’ attempt to characterize March 2018 to August 2019
11 as spanning 70% of the Class Period and including 6 out of the 10 challenged SEC
12 filings ignores this reality.   Nor do any of Plaintiffs’ cited cases stand for the
13 proposition that documents are per se discoverable just because they were created
14 during the class period.3
15         PwC already produced workpapers related to its preparation of the allegedly
16 fraudulent year-end audit opinions—which comprise the formal documentation
17 providing support for PwC’s audit conclusions and are the best source of information
18 on PwC’s audits and reviews—as well as related electronic communications and other
19 electronically-stored information. PwC also produced workpapers and electronic
20 communications covering later events Plaintiffs list in an attempt to justify their
21
22
     For example, in Stamps.com, the Court found Defendants’ proposed “carve out for
      3

23 the middle of the class period” was not justified because the requested documents were
24 “relevant to Defendants’ knowledge when they made the alleged misstatements.”
   2020 WL 5084093, at *2 (emphasis added). PwC’s alleged misstatements were made
25 in February 2018 and February 2019, respectively; Plaintiffs offer no justification for
26 their blanket request for documents spanning seventeen months during which PwC
   made only one allegedly actionable statement. The alleged facts underpinning PwC’s
27 alleged knowledge of Mattel’s control deficiencies all arose months prior to March
28 2018, during which time period PwC has already produced all relevant documents.
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 1 request—i.e., “the whistleblower’s letter to PwC, . . . Mattel’s internal investigation,
 2 restatement, and [the] stock drop at the end of the Class Period.” These documents
 3 include PwC’s workpapers related to Mattel’s November 2019 restatement, a copy of
 4 the whistleblower letter, documents related to PwC’s independence assessment and
 5 investigation of tax accounting matters, and personnel files from 2018 and 2019.
 6         To the extent Plaintiffs are entitled to PwC documents from this time period to
 7 show that Mattel’s internal control weaknesses from the third and fourth quarters of
 8 2017 persisted during the remainder of the class period, Plaintiffs again ignore that
 9 PwC did not audit Mattel’s quarterly disclosures and that PwC already produced both
10 workpapers and electronic communications related to its audit of Mattel’s year-end
11 statements and Mattel’s restatement. Indeed, Plaintiffs need look no further than the
12 restatement itself, which provides exactly the information they claim they need from
13 PwC. See ECF No. 41-8 at 26 (noting that Mattel determined that “[o]ne of the
14 material weaknesses has been remediated” and that “Mattel is implementing remedial
15 measures to address the other material weakness”). Plaintiffs have not explained what
16 additional information they require, and why it should come from PwC.
17         Finally, Plaintiffs claim they need documents from between March 2, 2018 and
18 August 2019 to help them identify the whistleblower, but provide no basis for their
19 speculation that the two dozen PwC custodians from whom they have asked for
20 documents would have discussed the whistleblower in the seventeen months prior to
21 PwC’s receipt of the whistleblower letter.
22                                               does not suggest that PwC discussed the
23 identity of a potential whistleblower during that time. Indeed, PwC has already
24 responded to Plaintiffs’ interrogatory that it is unaware of the identity of the
25 whistleblower, specifically searched electronic communications from August 1, 2019
26 through November 22, 2019 for references to the whistleblower, and produced an
27 initial production of responsive documents resulting from that search on July 12, 2021.
28 PwC has invited Plaintiffs to review its supplemental production prior to initiating
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 1 motion practice; PwC remains willing to consider a reasonable proposal for additional
 2 searches and time periods. To date, Plaintiffs have not offered such a proposal.
 3         Nevertheless, PwC is willing to search and produce workpapers not previously
 4 produced to Plaintiffs for its quarterly reviews of Mattel’s financials for 2018 and the
 5 first and second quarters of 2019.
 6            2. PwC’s Response to Interrogatory No. 4 Complies With Its
 7               Obligations Under Rule 33
 8         Interrogatory No. 4 asks PwC to identify “all documents and information,
 9 whether conveyed orally or in writing,” that PwC provided to any government entity
10 about any government investigation or in response to any government investigation.
11 The request is overbroad and ambiguous on its face, and PwC specifically objected to
12 the request for documents and information “conveyed orally” as overbroad, unduly
13 burdensome, and unintelligible. See supra § III. PwC then identified, pursuant to Rule
14 33(d), over 300,000 pages of documents it produced to the SEC in response to two
15 subpoenas pertaining to matters at issue in this case.          Thus, PwC responded to
16 Interrogatory No. 4 “to the extent it [was] not objected to.” Fed. R. Civ. P. 33(b)(3).
17         Plaintiffs’ counsel sent PwC’s counsel a letter dated May 14, 2021 that identified
18 the following information missing from PwC’s response: “(1) what other documents
19 outside of its production—e.g., whitepapers, proffers, admissions, memos—PwC has
20 provided to the SEC; (2) what oral admissions and representations PwC has made to
21 the SEC; (3) what documents or information PwC has provided to the Department of
22 Justice, or any additional governmental body, in connection with its investigation.”
23 During the meet and confer process, PwC repeatedly confirmed to Plaintiffs’ counsel
24 that PwC had produced to Plaintiffs all documents it had produced to government
25 agencies in response to relevant investigations to date, and that it would supplement
26 such productions with any documents produced to the government in the future. PwC
27 also confirmed that it did not provide any whitepapers, proffers, admissions, memos or
28 other work product to the SEC, DOJ, or any other government entity.                    These
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 1 confirmations resolved items (1) and (3) from the May 14 letter, and Plaintiffs do not
 2 contend otherwise here.
 3         What remains is Plaintiffs’ remarkable request for all “oral admissions and
 4 representations PwC has made to the SEC” (and, apparently, now DOJ as well), and
 5 the even more remarkable—and false—claim that PwC has withheld such information
 6 on privilege grounds. PwC has never claimed that what its counsel said to government
 7 lawyers is protected by privilege.
 8         Rather, PwC objects to this request as overbroad, unduly burdensome, and
 9 disproportionate to the needs of the case insofar as it seeks to transform PwC’s counsel
10 into fact witnesses. See, e.g., Mustang Mktg., Inc. v. Chevron Prods. Co., 2006 WL
11 5105559, at *3 (C.D. Cal. Feb. 28, 2006) (“There is a general presumption that lawyers
12 should not be called to testify in cases where their client is a party because doing so
13 compromises the standards of the legal profession.”). The only people capable of
14 verifying, pursuant to Rule 33(b)(5), an interrogatory response providing plaintiffs
15 with a readout of everything ever said orally to the SEC and DOJ on PwC’s behalf are
16 PwC’s outside counsel. Plaintiffs have applied for a license to conduct a fishing
17 expedition into counsel’s recollection of facts relayed to the government so they can
18 use those statements as party admissions.          These are not proper subjects for
19 interrogatories. See, e.g., E. & J. Gallo Winery v. Rallo, 2006 WL 8458562, at *3
20 (E.D. Cal. Nov. 8, 2006) (denying leave to serve interrogatories seeking “information
21 from [counsel] about statements made and documents produced, responses to which
22 would be nothing more than second hand accounts of information [counsel] learned
23 from other sources” (emphasis added)). If Plaintiffs want facts, they are perfectly
24 entitled to discover facts from the witnesses with percipient knowledge of them. See
25 Song v. Drenberg, 2019 WL 5095743, at *4 (N.D. Cal. Oct. 11, 2019) (denying motion
26 to compel discovery from party’s counsel absent substantial need, but noting that
27 counsel “is free to take discovery of any fact witnesses he believes possess information
28 relevant to a claim or defense in the case”).
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 1         Plaintiffs cite no authority supporting their position that a party’s attorney can
 2 be compelled to summarize, via interrogatory response, statements that attorney made
 3 to the government or other third party. And because PwC does not claim privilege
 4 over the oral statements made by its counsel to the government, the two district court
 5 cases on which Plaintiffs do rely (one of which is only two sentences long and contains
 6 no analysis or citation to authority) are completely inapposite. Both involved requests
 7 to produce documents over which, it was held, privilege had been waived. See In re
 8 Banc of Cal. Sec. Litig., 2018 WL 2373860, at *1 (C.D. Cal. May 23, 2018)
 9 (summarizing motion to compel counsel “to produce any notes and memoranda
10 memorializing the interviews it took in connection with its internal investigation” and
11 holding that counsel’s “disclosure of summaries of the witness interviews acted to
12 waive any work product or attorney-client privilege” over the requested documents);
13 Marvell, 2017 WL 4286325, at *1 (ordering defendants “to produce interview
14 memoranda and KPMG work papers” because defendants had “waived any work-
15 product or attorney-client privilege over those documents”). Neither of these cases
16 say anything about compelling attorneys to testify in response to an interrogatory
17 about what they may have said to the government. For the avoidance of doubt,
18 however, PwC confirms here that it has not “provided the SEC [or the DOJ] with oral
19 summaries” of any witness interviews it conducted in connection with its internal
20 investigation. Banc of Cal., 2018 WL 2373860, at *1. That should end the matter.
21         Ultimately, as Plaintiffs’ position statement makes clear, Plaintiffs seek to use
22 Interrogatory No. 4 as an excuse to engage in freewheeling discovery into whether
23 PwC may possibly have waived privilege over documents Plaintiffs have not even
24 requested.     To the extent any interview notes, memoranda, or other internal
25 investigative work product exists, no such material was ever shared with the
26 government (or any third party).        All of this therefore has nothing to do with
27 Interrogatory No. 4, which only seeks information disclosed to the government. In
28 any event, Plaintiffs failed to identify its apparent request for PwC to disclose its
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 1 investigative work product in its deficiency letter, and never raised it with PwC’s
 2 counsel during the meet and confer process. Raising it here therefore violates Local
 3 Rule 37. See, e.g., Henderson v. JPMorgan Chase Bank, 2012 WL 12888829, at *2
 4 (C.D. Cal. July 31, 2012) (“Discovery motions must be filed in compliance with Local
 5 Rule 37, i.e., only after counsel for the moving party has served a letter identifying
 6 each discovery request in dispute.”) (emphasis added).
 7         Plaintiffs’ motion should be denied in its entirety.
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                                           JOINT STIPULATION RE PLAINTIFFS’ MOTION TO COMPEL
                                                               CASE NO. 19-CV-10860-MCS (PLAx)
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 1      CERTIFICATE PURSUANT TO CENTRAL DISTRICT OF CALIFORNIA
 2                      LOCAL RULE 5-4.3.4(a)(2)(i)

 3          I, John Rizio-Hamilton, am the ECF User whose ID and password are being used
 4 to file the foregoing document. In compliance with Local Rule 5-4.3.4(a)(2)(i), I hereby
 5 attest that counsel for PwC concurs in this filing’s content and has authorized the filing.
 6
      Dated: July 16, 2021
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 8                                                   /s/ John Rizio-Hamilton
                                                     John Rizio-Hamilton
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                                                                         SIGNATURE ATTESTATION
                                                                   CASE NO. 19-CV-10860-MCS (PLAx)
